                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,                         )
                                                  )
                         Plaintiff,               )
                                                  )
       vs.                                        )      No. 15-03038-01-CR-S-BCW
                                                  )
CHERIE CHRISTINE DUPUIS,                          )
                                                  )
                         Defendant.               )


                        ACCEPTANCE OF PLEA OF GUILTY AND
                             ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to Count One

contained in the Indictment filed on March 31, 2015, is now Accepted and the Defendant is

Adjudged Guilty of such offense. Sentencing will be set by subsequent Order of the Court.




                                                        /s/ Brian C. Wimes
                                                        BRIAN C. WIMES
                                                  UNITED STATES DISTRICT JUDGE




Date: August 11, 2015




      Case 6:15-cr-03038-BCW          Document 165      Filed 08/11/15     Page 1 of 1
